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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA


In re: Oil Spill by the Oil Rig                            *            MDL No. 2179
       “Deepwater Horizon” in the                          *
       Gulf of Mexico, on April 20, 2010                   *            SECTION: J
                                                           *
         Applies to: All Cases.                            *            JUDGE BARBIER
                                                           *            MAGISTRATE SHUSHAN
* * * * * * * * * * * * * * * * * * *                      *


                                    PRE-TRIAL ORDER NO. ___
                                [CASE MANAGEMENT ORDER NO. 1]

         Considering the need for organization of this complex litigation, the submissions and

suggestions of counsel in connection with the initial Status Conference held on September 16,

2010, a conference held with Liaison Counsel on September 29, 2010, and the Manual for

Complex Litigation, Fourth, Sections 22.6, 22.61, 22.62, and 22.63, the Court adopts the

following Case Management Order No. 1.1 It is hereby ORDERED as follows:

I.       APPLICABILITY OF ORDER.

         This Order shall govern all cases (1) transferred to this Court by the Judicial Panel on

Multidistrict Litigation, pursuant to its Order of August 10, 2010; (2) any tag-along actions

subsequently transferred to this Court by the Judicial Panel on Multidistrict Litigation (“JPML”)

pursuant to Rule 7.4 of the Rules of Procedure of that Panel; and (3) all related cases originally

filed in this Court or transferred or removed to this Court. This Order does not supersede prior

Pretrial Orders issued in this proceeding, which shall remain in effect except to the extent

inconsistent with the provisions herein.

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 By filing this proposed Case Management Order and/or any other proposed order relating to case scheduling, the
parties do not waive, and expressly reserve, any objection they may have to the Court's procedures in setting cases
or issues for trial in this MDL proceeding.


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II.      FILING OF CASE MANAGEMENT ORDER NO. 1.

         This Order shall apply to all cases removed to, or transferred to, this Court and cases

presently and subsequently filed in this Court that are within the subject matter of this MDL and

shall be deemed filed in each of these matters.

III.     PLEADING BUNDLES.

         This proceeding is hereby separated into the following Pleading Bundles for purposes for

the filing of complaints, answers and any Rule 12 motions. The Pleading Bundles set forth in

this Order are provisional and may be modified on the Court’s own motion or for good cause

shown by any party.

A.       April 20, 2010 Personal Injury and Death Claims.

                 Includes all personal injury and wrongful death claims resulting directly from the

events of April 20, 2010, as to those individual claimants who were on board the Deepwater

Horizon and/or the Damon Bankston on April 20, 2010.. Such cases will be pled individually

and shall not be included in any other Pleading Bundles or Master Complaints.

B.       Private Individuals and Business Loss Claims and Non-April 20, 2010 Personal
         Injury Claims.

                 These Pleading Bundles will each be pled pursuant to Master Complaints as

delineated below, and will include the following types of claims:

                 B1.    Non-Governmental Economic Loss and Property Damages.                    This

                        Pleading Bundle will include, inter alia, the following types of current and

                        anticipated claims:   (i) Robins Dry Dock claims; (ii) OPA claims; and

                        (iii) state law claims, which will be set forth, for administrative purposes,

                        in one or more administrative Master Complaints.




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                 B2.    RICO Claims. In light of determinations as may be made by the JPML

                        regarding the transfer and/or coordination of pending RICO actions,

                        Plaintiffs Liaison Counsel shall confer with Defense Liaison Counsel and

                        with the Court by December 15, 2010, regarding the consolidation and/or

                        coordination of RICO pleadings.

                 B3.    Post-Explosion Clean-Up Claims. This Pleading Bundle will include all

                        claims related to post-explosion clean-up efforts and/or all personal injury

                        claims not included in Pleading Bundle A. These claims will be pled

                        separately and uniformly in a Master Complaint, and such claims shall not

                        be included in any other Pleading Bundles or Master Complaints.

                 B4.    Post-Explosion Emergency Responder Claims. This Pleading Bundle

                        will include all claims against the alleged owners and/or operators of

                        rescue vessels that answered the Deepwater Horizon's distress call and

                        responded to the emergency after the explosion. One case currently exists

                        alleging such claims: Terry G. Robin, et al. v. Seacor Marine, L.L.C., et

                        al., No. 10-1986. The complaint in the Robin case will serve as the

                        operative complaint for this Pleading Bundle, and such claims shall not be

                        included in any other Pleading Bundles or Master Complaints.

C.      Public Damage Claims.

                 These claims brought by governmental entities for, inter alia, loss of resources,

loss of tax revenues, response costs and civil penalties shall not be included in any other

Pleading Bundles or Master Complaints; however, counsel representing governmental entities

shall meet and confer among themselves and with Plaintiffs’ Liaison Counsel to discuss the

desirability of a Master Complaint for governmental claims. Plaintiffs’ Liaison Counsel shall

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thereafter discuss the desirability of a Master Complaint with Defense Liaison Counsel and

report to the Court prior to the November 2010 Status Conference.

D.      Injunctive and Regulatory Claims.

                 These claims brought by private parties challenging regulatory action or authority

and/or seeking injunctive relief will each be pled pursuant to Master Complaints as delineated

below, and will include the following types of claims:

                 D1.    Claims Against Private Parties. These claims will be pled separately

                        and uniformly in a Master Complaint.

                 D2.    Claims Against the Government or any Government Official or

                        Agency. In the event these claims are retained in the MDL, they will be

                        pled separately and uniformly in a master complaint, and will be reviewed

                        based on administrative records lodged by Federal Defendants. It would

                        be premature to set deadlines for lodging the records at this time because

                        motions to sever and deconsolidate these cases remain pending before the

                        Court (see Dkt. ## 59, 174). In addition, for the reasons discussed in these

                        previously filed motions, (see Dkt. ## 59, 174), the discovery and other

                        pre-trial procedures discussed in this CMO (Sections V-IX) do not apply

                        to these cases brought under the Administrative Procedure Act

E.      Designation of Subsequently-Added Cases.

                 All cases subsequently added to this proceeding as a tag-along action or by

removal or transfer to or original filing with this Court shall be assigned to a Pleading Bundle, as

necessary or appropriate, in accordance with the above.




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IV.     TIMING FOR FILING OF PLEADING.

A.      Filing of Complaints.

                 Master Complaints, as designated above, shall be filed by December 15, 2010. In

existing cases for Pleading Bundles not subject to the filing of a Master Complaint, amended

complaints, if any, must be filed by December 15, 2010 (or otherwise for good cause shown).

B.      Defendants’ Responses.

                 Defendants    shall   each   file       responses   to   the   Master   Complaints   in

Pleading Bundles B and D, and to the complaints or amended complaints in Pleading Bundles A

and C not previously answered, by January 18, 2011. Defendants may choose to file a Master

Answer or Answer(s) relating to complaints in such bundles that raise similar allegations, or

other responsive pleadings in accordance with Rule 12(b) or 12 (c). If a Defendant files a

responsive pleading in accordance with Rule 12(b) or 12(c) to a complaint or Master Complaint

in pleading bundles B, C or D, no answer need be filed by that Defendant until thirty (30) days

after the Court has ruled on such responsive pleading.

                 With respect to actions in Pleading Bundle A, an Answer to each complaint or

amended complaint (whether a Master Answer or otherwise) shall be filed by each named

Defendant that has been properly served or has appeared, regardless of whether any motions to

dismiss are brought pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(6) or 12(c),

with the exception that cases for which Rule 12(b)(2) motions are filed, no answer will be due

prior to resolution of such motions.

                 Prior to the briefing and hearing of any Rule 12(b)(2) motions, the parties will be

permitted to engage in jurisdictional discovery related to jurisdiction over any defendant that has

raised a jurisdictional challenge.



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                 Memoranda in Opposition to any Rule 12(b)(1), 12(b)(6) or 12(c) motions shall

be filed by February 18, 2011. Reply Briefs shall be filed by March 18, 2011. The Court will set

oral argument on such motions as soon thereafter as the Court deems appropriate.

C.      RICO Pleadings.

                 Plaintiffs Liaison Counsel shall confer with Defense Liaison Counsel and with the

Court by December 15, 2010, regarding the deadlines for the filing of any RICO pleadings and

responses thereto. No responsive pleading to any complaint alleging RICO claims shall be

required pending further order of court.

D.      Claims in Transocean’s Limitation Action.

                 In the Transocean Limitation, Docket No 10-2771, which was transferred from

the Southern District of Texas by order of that Court dated August 16, 2010, all claims were

ordered to be filed within said limitation, on or before November 15, 2010. Said Orders of the

Southern District of Texas Court are hereby amended to extend said claims (monition) date to

April 20, 2011.

                 Any cross-claims, Rule 14(c) claims or other third-party complaints asserted in

connection with the Limitation shall be filed on or before May 20, 2011. Any answer or other

responsive pleadings to such crossclaims or third party complaints shall be filed on or before

June 20, 2011.

                 All claims in the Limitation action are to be filed in member case 10-2771 as per

the Court’s August 24, 2010 order.




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V.      DISCOVERY.

A.      Phase I Discovery.

                 1.     Jurisdiction.

                 In the event that any named Defendant challenges jurisdiction by motion pursuant

to Rule 12(b)(2), discovery limited to jurisdictional issues versus any moving defendant shall

proceed expeditiously thereafter.       With respect to any defendant objecting to personal

jurisdiction, the discovery obligations set forth herein will be imposed in the event that personal

jurisdiction is established, to commence expeditiously upon order of the Court.

                 2.     Casualty Liability, Limitation and Related Issues.

                 Discovery contemplated herein shall focus on the activities and events leading up

to and including the April 20, 2010 Macondo well incident and resulting explosion, fire and loss

of the rig.

                 3.     Environmental samples

                 In addition to the requests in Plaintiffs’ Initial Discovery Requests, the parties

anticipate that additional discovery relating to environmental sampling will be initially in the

form of third-party subpoenas and/or FOIA requests directed primarily to U.S. and State

Agencies. Such discovery may commence immediately. Certain defendants have already stated

they have no objection to such third party discovery. The parties shall also meet and confer with

one another and, to the extent appropriate, with third parties, regarding the preservation and/or

testing of physical samples which have been collected and maintained, as well as broader

first-party discovery regarding the environmental impacts of the spill.

                 4.     Information Systems and Management Information Systems.

                 Should Defendants object to any discovery requests propounded to them based

upon claims of undue burden or that responsive information is not reasonably accessible, after a

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period of time for appropriate meet and confer sessions, Plaintiffs may thereafter seek to

commence discovery regarding such claims.

                 5.     Privilege and Related Issues

                 On or before December 31, 2010, Defendants shall provide privilege logs relevant

to Phase I Discovery with respect to any documents withheld on the basis of attorney-client

privilege or work product, as well as a description of all sources of electronic data which may

have potentially relevant information, but which Defendants do not intend to search, on the basis

that such data is not reasonably accessible due to undue burden or cost, (in accordance with

Rule 26(b)(2)(B)).

                 6.     Fact depositions.

                 Fact depositions related to casualty liability and limitation may commence on

January 18, 2011, except that any depositions of a witness related to the rig blow out preventer

(“BOP”) must be scheduled after the time that the government’s Joint Investigative Team’s

forensic evaluation of the BOP is completed.

B.      Spill Response, OPA and Economic Loss Cases

                 By November 1, 2010, the parties shall meet and confer regarding appropriate,

limited written discovery relating to spill extent, response and containment.      On and after

November 30, 2010, plaintiffs may serve written discovery to defendants on the subject of spill

extent, response and containment, which written discovery shall be responded to by January 18,

2011.

                 By July 1, 2011, the parties shall submit a proposed CMO for remaining

discovery (including depositions and expert discovery) and scheduling (including dispositive

motions) for designated case(s) on economic loss (OPA and Robins Dry Dock).              Such a



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scheduling order may include consideration of suitability of cases for class certification and class

certification discovery and briefing.

C.      Written Discovery Requests.

                 Written discovery requests, and responses thereto, shall be made in accordance

with the Federal Rules of Civil Procedure, except that the parties will be allowed to propound up

to fifty (50) Interrogatories.

                 Plaintiffs may serve initial written discovery requests related to the Phase I

Casualty and Limitations issues on or before November 2, 2010. Defendants may also serve

written discovery requests relating to Phase I Discovery issues on one another. Defendants may

also serve written discovery on plaintiffs on or after November 2, 2010.

                 Defendants shall serve their responses to Plaintiffs’ and/or Defendants’ initial

written discovery requests by December 1, 2010. Plaintiffs shall also serve their responses to

Defendants’ initial written discovery requests on a schedule in accordance with the Federal Rules

of Civil Procedure.

VI.     DESIGNATED CASES.

A.      Personal Injury / Wrongful Death Designated Cases Associated with the March 1,
        2012 Limitation and Liability Trial.

                 By May 2, 2011, the Plaintiffs Steering Committee shall identify one or two

personal injury / wrongful death cases designated for bench trial under Rule 9(h) for the March

2012 trial of liability, limitation, exoneration and fault allocation. Discovery with respect to the

designated cases will commence immediately thereafter, subject to a separate Scheduling Order.

B.      OPA and Economic Loss Designated Cases

                 As set forth above, the parties shall meet and confer and submit by July 1, 2011, a

proposed CMO relating to remaining discovery (including depositions and expert discovery) and


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scheduling (including dispositive motions) for up to two (2) designated case(s) on economic loss

(OPA and Robins Dry Dock). Such a scheduling order may include consideration of suitability

of cases for class certification, and class certification discovery and briefing.

VII.    STAY OF CLASS ACTION MOTION PRACTICE AND DEADLINES.

        Local Rule 23.1 and Federal Rule 23 motion practice and discovery on class certification

issues is hereby stayed for all cases until further order of this Court. Defendants reserve the right

to seek a schedule for consideration of class certification motions should the Master Complaints

in any pleadings bundles assert class certification claims.

VIII. ANTICIPATED ADDITIONAL PRE-TRIAL ORDERS.

        The parties shall, within 15 days of the entry of this Order, meet to confer in good faith to

negotiate the following joint and stipulated, to the extent possible, pre-trial orders: (i) Order

Relating to the Treatment of Confidential Materials, (ii) Order Relating to the Treatment of

Privileged       Materials;   (iii) Deposition   Protocol,   (iv) Document    Production   Protocol,

(v) E-Discovery Protocol, and (vi) Protocol for the Service of Pleadings and Discovery, whether

via Lexis-Nexis File & Serve or otherwise. Such proposed orders shall be filed with the Court

within 30 days of the date of this Order.

        In addition, the parties shall meet and confer regarding the desirability and feasibility of

an order facilitating the direct filing of actions into the MDL.

        Plaintiffs’ Liaison Counsel shall also submit a proposed order governing the submission

of time and expenses by attorneys who may seek to make an application for common-benefit

reimbursement and/or awards.

IX.     FILING OF PLEADINGS.

        All motions, requests for discovery or other pre-trial proceedings with respect to

plaintiffs shall be initiated by and/or coordinated through the PSC, to be filed by and through

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Plaintiffs’ Liaison Counsel. If the PSC does not support the motion, discovery or other requested

proceeding, then the moving or requesting plaintiff shall be permitted to file such motion or

request, but shall include a certificate of non-support.

X.      SUPPLEMENTATION AND AMENDMENTS TO THIS ORDER.

        This Order may be amended by Order of the Court in the event that Congress legislates or

directs amendments regarding any issue (including, but not limited to, the availability of an

exoneration/limitation defense) that affects any portion of the Deepwater Horizon litigation.

        Further, the provisions of this Order are provisional and may be modified in the interests

of justice, expedience or judicial economy on Court’s own motion or motion by the parties for

good cause shown.

        New Orleans, Louisiana this _____ day of October, 2010.



                                                       __________________________________
                                                       CARL J. BARBIER
                                                       UNITED STATES DISTRICT JUDGE




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